                     Case 1:13-cr-00018-DLH               Document 23           Filed 02/21/13        Page 1 of 1

/RFDO$2 5HY 2UGHU6FKHGXOLQJD+HDULQJ



                                       81,7('67$7(6',675,&7&2857
                                                                 IRUWKH
                                                         'LVWULFWRI1RUWK'DNRWD

                   8QLWHG6WDWHVRI$PHULFD
                              Y                                           &DVH1R 1:13-cr-018
                        Patrick Lloyd Hofstad



                                                         ORDER SCHEDULING
                                        DETENTION HEARING AND ARRAIGNMENT

          $KHDULQJLQWKLVFDVHLVVFKHGXOHGDVIROORZV

Type: 'HWHQWLRQ+HDULQJ                                              Date and Time: February 25, 2013, at 10:00 a.m.
           Arraignment
Place: 86)HGHUDO&RXUWKRXVH                                       Courtroom No.:
           Bismarck, ND                                                        Bismarck Courtroom 2

        IT IS ORDERED:3HQGLQJWKHKHDULQJWKHGHIHQGDQWLVWREHGHWDLQHGLQWKHFXVWRG\RIWKH8QLWHG6WDWHV
PDUVKDORUDQ\RWKHUDXWKRUL]HGRIILFHU7KHFXVWRGLDQPXVWEULQJWKHGHIHQGDQWWRWKHKHDULQJDWWKHWLPHGDWHDQG
SODFHVHWIRUWKDERYH




                 02/21/2013                                                         /s/ Charles S. Miller, Jr.
'DWH
                                                                                              Judge’s signature


                                                                                 Charles S. Miller, Jr., Magistrate Judge
                                                                                            Printed name and title
